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                                    April 24, 2‫ه‬24

Honorable Frank p. Geraci Jr.
U.S. District Court Judge
u.s. Courthouse
100 State street
Rochester, New York 14614

RE:     Si!von s. Simmons V. Joseph M. Ferrigno, II et al.
        Civil Action No: 17 -CV-6176


Dear Judge Ceraci:

       I must respectfully object to Mr. Campolieto's last-minute reguest for a special
interrogatory form on gualified immunity issues. I cannot see how gualified immunity
would be applied here. If Mr. Simmons prevails, it would have to be because the jury
had concluded that he did not fire a gun at Officer Ferrigno, and there is no gualified
immunity for shooting an unarmed civilian. If the City prevails, of course, the issue is
moot.


         The guestions themselves are improper or unnecessary. Mr. Simmon's running
from the car could not justify shooting him, for example, so this is irrelevant, other
guestions are misleading. A gualified immunity defense cannot be made out by an
unreasonable belief (see Stephenson V. Doe, 332 F.3d 68, 78-79), so it would be
pointless to ask the jury to decide what was in Officer Ferrigno's mind as he pursued the
plaintiff. I would note, too, that Judge Valleriani already found that the defendant had no
reasonable basis for suspicion when Mr. Simmons ran from the car, and this is a
sufficient to rule out the contention that he reasonably believed that he was pursuing
Ivory Golden. Even if he did have such a belief, though, he would still tiave had no
reason to shoot unless Mr. Simmons's acts put him in danger.

         Taking ttie guestions one by one: The first four are duplicative of the verdict sheet
proper. The following guestions 1 and 2 allege acts wtiich have no connection with the
liability issues, guestions 3 and 4 ask for conduct which Mr. Simmons has admitted, and
guestion five runs afoul of the reasonableness issue. The verdict itself will answer
guestions 6-8 and 10-11, and guestion 11 is duplicative of 7 and 8 and prejudicially
assumes as a fact that Mr. Simmons fired a gun at the defendant. I cannot see the
relevance of guestion 9.
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        These questons a٢e unnecessary and raise a subs‫؛‬antla! hsk of confusing the
jury. Counsel's timing has rendered them improper, but even if this were not a factor
they should be rejected.

                                         Respectfully,


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                                         Charles F. Burkwit, Esq.


cc:     John M. Campolieto, Esq.
